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                                                   United States Bankruptcy Court
                                                        Southern D i s t r i c t ofTexas                                                                                  Voluntary Petition
 Name of Debtor (if individual, enter Last, First, Ivliddie):                                                   Name o f Joint Debtor (Spouse) (Last, First, Middle):
     Midtown S c o u t s Square Property, L P



A l l Other Names used by the Debtor in the lasl 8 years                                                        A l l Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one. state all)                                                                                   (if more than one, state a!!)

  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State);                                                     Street Address of Joint Debtor (No. and Street, City, and State):
     8305 K n i g h t R o a d
     Houston, TX
                                                                                             ZIP Code                                                                                            ZIP Code
                                                                                       1 77054                                                                                              1
County of Residence or of the Principal Place of Business:                                                      County of Residence or ofthe Principal Place of Business:
     Harris

Mailing Address of Debtor (if different from street address):                                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                             ZIP Code                                                                                            ZIP Code

Location o f Principal Assets of Business Debtor                         1910 1/2 a n d 1911 B a g b y
(if different from street address above):                                H o u s t o n , T X 77002



                      Type of Debtor                                          Nature of Business                                                 Chapter of Bankruptcy Code Under Which
            (Fonn of Organization) (Check one box)                               (Check one box)                                                    the Petition is Filed (Clieck one box)
•      Individual (includes Joint Debtors)                         •   Health Care Business                                •    Chapter         7
      See Exhibil D on page 2 of ihis form.                        •   Single Asset Real Estate as defined                                                     •   Chapter 15 Petition for Recognition
                                                                                                                           •    Chapter         9
• Corporation (includes L L C and L L P )                              in 11 U.S.C. § 101 (51B)                                                                    o f a Foreign Main Proceeding
                                                                                                                           •    Chapter         11
I Partnership                                                      •   Railroad
                                                                                                                           •    Chapter         12             •   Chapter 15 Petition for Recognition
• Other (If debtor is not one of the above entities,               •   Stockbroker
                                                                                                                           •    Chapter         13                 of a Foreign Nonmain Proceeding
  check this box and state type of entity below.)                  •   Commodity Broker
                                                                   •   Clearing Bank
                                                                   •   Other                                                                                  Nature of Debts
                   Chapter 15 Debtors
                                                                              Tax-Exempt Entity                                                            (Check one box)
 Coiintrj- of debtor's center of main interests:
                                                                             (Check box, if applicable)                    G Debts are primarily consumer debts,                   H Debts are primarily
                                                                   •   Debtor is a tax-exempl organization                   defined in 11 U.S.C, § 101(8) as                        business debts.
Each country in which a foreign proceeding
                                                                       under Title 26 of the United Slates                   "incurred by an individual primarily for
by, regarding, or against debtor is pending:
                                                                       Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                Filing Fee (Check one box)                                      Check one box;                                       Chapter 11 Debtors
B Full Filing Fee attached                                                                        •       Debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D).
                                                                                                  H       Debtor is not a small business debtor as defined in 11 U.S.C. § 101 (5ID).
D Filing Fee to be paid in installments (applicable to individuals only). Must                  Check if
  attach signed application for the court's consideration certifying that the
                                                                                                 •   Debtor's aggregate noncontingenl liquidated debts (excluding debts owed to insiders or affiliates)
  debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                     are less than $2,490,925 (amounl .subjeci lo adjustmenl on 4^01/16 ond every tiiree years thereafter).
  Fonrt 3A.
                                                                                                Check all applicable boxes:
•     Filing Fee waiver requested (applicable to chapter 7 individuals only). Musl               •    A plan is being filed with this petition.
      attach signed application for ihe court's consideration. See Ofticial Fonn 3B.             D Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                     in accordance wilh 11 U.S.C. § 1126(b).

Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR COURT USE ONLY
• Debtor estimates that funds will be available for distribution to unsecured creditors.
 •    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
      •1-              •
                     50-
                                    •100-           •200-      •1,000-       •5,001-        •10,001-       •25,001-       •50,001-        •OVER
      49             99             199             999        5,000         10,000         25,000         50,000          100,000         100,000

Estimated Assets
      •
      so 10
                      •
                     $50,001 to
                                    •
                                    $100,001 to
                                                    •
                                                    $500,001
                                                               •
                                                               51,000,001
                                                                             •
                                                                             $10,000,001
                                                                                            •
                                                                                            550,000.001
                                                                                                           •              •
                                                                                                           $100,000,001 $500,000,001
                                                                                                                                          •More than
      S.50,000       5100,000       $500,000        to SI      to SlO        !oS50          10 SlOO        10 $500      to$l billion      SI billion
                                                    million    million       million        million        million

Estimated Liabilities
    •          •
      so 10          $50,001 to     S 100.001 to    $500,001   $1,000,001     510,000,001   $50,000,001    $100,000,001 $500,000,001 More than
      $50,000        $100,000       $500,000        to$l       toSlO         toS50          lo$!00         toS500       l o $ l billion $1 billion
                                                    million    million       million        million        million
                               Case 13-32920 Document 1 Filed in TXSB on 05/09/13 Page 2 of 7
Bl (Official Form 1)(Q4/13)                                                                                                                                                       Page 3
                                                                                            N a m e o f Debtor(s);
Voluntary Petition
                                                                                                Midtown S c o u t s S q u a r e P r o p e r t y , L P
(This page    must be completed         and filed in every    case)
                                                                                     Sign atures
                      Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     1 declare under penalty of perjury that the information provided in this                  1 declare under penalty of perjury that the infonnation provided in this petition
     petition is true and correct.                                                             is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and              proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief           (Check only one box.)
     availtible under each such chapter, and choose to proceed under chapter 7.               •     I request relief in accordance with chapter 15 o f title 11. United States Code.
     [If no attomey represents mc and no banlcruptoy petition preparer signs the                    Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] 1 have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                              •    Pursuant to 11 U.S.C. §1511,1 request relief in accordance with the chapter
     1 request relief in accordance with the chapter of title 11, United States Code,              of titie 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                   recognition of tlie foreign main proceeding is attached.


                                                                                            X
 X
     Signature o f Debtor
                                                                                                  Signature o f Foreign Representative

 X
     Signature o f Joint Debtor                                                                   Printed Narne o f F o r e i g n Representative


      1 ciephone N u m b e r {II not represented by attorney)                                     Date
                                                                                                     Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                                  1 declare under penalty of perjury that; (I) I am a bankruptcy petition
     Date                                                 —                                       preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document
                                                                                                  and the notices and infonnation required under 11 U.S.C. §§ 110(b),
                                                                                                  110(h), and 342(b); and, (3) i f rules or guidelines have been promulgated
                                                                                                  pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 A
                                                                                                  chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature o f A t t o m e y f o r Debtor(s)                                                  of the maximum amount before preparing any document for filing for a
      E d w a r d L. R o t h b e r q 17313990                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                                  Official Form 19 is attached.
     Printed N a m e o f A t t o m e y for Debtor(s)

      Hoover Slovacek L L P
                                                                                                  Printed N a m e and title, i f any, o f B a n k r u p t c y Petition Preparer
     Firm Name
      5847 S a n F e l i p e
      Suite 2200                                                                                  Social-Security number (If the bankrutpcy petition preparer is not
      H o u s t o n , T X 77057                                                                   an i n d i v i d u a l , state the S o c i a l Security number of the officer,
                                                                                                  principal, responsible person or partner o f the bankruptcy petition
     Address                                                                                      preparer.)(Required by 11 U . S . C . § 110.)



      713.977.8686 F a x : 713.977.5395
     Telephone N u m b e r

                   f 1         ' - I f '                                                          Address
     Date
     *ln a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no l<novvledge after an inquiry that the
                                                                                            X
     information in tlie schedules is incorrect.
                                                                                                  Date
                 Signature of Debtor (Corporation/Partnership)
                                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                  person,or partner whose .Social Security number is provided above.
     1 declare under penalty of perjur)' that the information provided in this
     petition is true and correct, and that i have been autiiorized to file this petition
     on behalf of the debtor.                                                                     Names and Social-Security numbers of all other individuals who prepared or
                                                                                                  assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests reliefiji accordance with the chapter of title 11, United                not an individual:
     States Code, s^je^rfiejUiftMs petitipn.



     Signature o f A u t t i o r i z e d Individua!~^
      Erich Mundinger                                                                             If more than one person prepared this document, attach additional sheets
                                                                                                  conforming to the appropriate official form for each person.
     Printed N a m e o f A u t h o r i z e d Individual
      P r e s i d e n t of G e n e r a l Partner                                                   A bankniptcy petition preparer's failure lo comply with the provisions of
                                                                                                   title 11 and Ihe Federal Rules of Bankniptcy Procedure may result in
     Title o f A u t h o r i z e d Individual
                                                                                                  fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §1S6.


     DlfT'        '
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        WRITTEN CONSENT OF T H E MEMBER OF T H E GENERAL PARTNER
                OF MIDTOWN SCOUTS SQUARE PROPERTY, LP

       The undersigned, being the Director and Sole Member of Midtown Scouts Square, L L C ,
the General Partner of Midtown Scouts Square Property, L P , a Texas limited partnership (the
"Partnership"), and pursuant to the provisions of the Texas statutes, hereby consents to the
adoption by the General Partner of the Partnership of the following resolutions and to the action
authorized in such resolutions being taken by the General Partner in lieu of a meeting thereof:

        RESOLVED, that the Partnership should reorganize by fding for bankruptcy
        protection under Chapter 11 of the Banki-uptcy Code with an appropriate federal
        bankruptcy court sitting in Harris County, Texas;

        RESOLVED, that Atul Lucky Chopra, the Managing Member of Midtown
        Scouts Square, L L C , the General Partner of the Partnership, is hereby authorized
        and directed to prepare or cause to be prepared the voluntary petition and to cause
        the initiation and prosecution of a case under the Bankruptcy Code (the
        "Bankruptcy Case");

        RESOLVED, that the Partnership is authorized and directed to employ and retain
        Erich Mundinger to serve as President of the General Partner and to serve as
        Chief Restructuring Officer during the pendency of the Bankruptcy Case, and that
        Erich Mundinger is authorized to prepare or cause to be prepared all other
        documents, pleadings and other instruments necessary to prosecute the
        Bankruptcy Case, subject to the discretion and control of Lucky Chopra;

        RESOLVED, that the Partnership is authorized and directed to employ and retain
        the firm of Hoover Slovacek L L P , Attomeys at Law, to represent the Partnership
        in its case under the Bankruptcy Code upon such retainer and compensation
        agreement as may seem in the sole discretion of the Managing Member to be
        appropriate; and

        RESOLVED FURTHER, that any and all actions taken by the General Partner
        of this Partnership, for and on behalf and in the name of this Partnership, prior to
        the adoption of the foregoing resolutions, in connection with any of the foregoing
        matters, be and they are hereby, ratified, confirmed and approved in all respects
        for all purposes.

       The undersigned, being the General Partner of the Partnership hereby consents to the
foregoing effective the ^ day of May, 2013.




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                               MIDTOWN SCOUTS SQUARE PROPERTY, LP

                               By:   MIDTOWN SCOUTS        SQUARE, L L C ,
                                     General Partner



                                            A^l Lucky Chopra
                                            Managing Member




                               CONSENT OF LIMITED PARTNER:




                               Atul Lwcky Chopra




85n81/00001/00049430.DOCX 1
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B4 (Official Form 4) (12/07)
                                                           United States Bankruptcy Court
                                                                Southem District of Texas
 In re      Midtown Scouts Square Property, L P                                                                 Case No.
                                                                               Debtor(s)                        Chapter       jll


                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                         Following is the list o f the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
           accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (I)
           persons who come within the definition of "insider" set forth in 11 U . S . C . § 101, or (2) secured creditors unless the value o f
           the collateral is such that the unsecured deficiency places the creditor among the holders o f t h e 20 largest unsecured claims.
           If a minor child is one o f t h e creditors holding the 20 largest unsecured claiins, state the child's initials and the name and
           address o f t h e child's parent or guardian, such as " A . B . , a minor child, by John Doe, guardian." Do not disclose the child's
           name. See 11 U . S . C . § 112; Fed. R. Bankr. P. 1007(m).


                   (1)                                               (2)                              (3)                      (4)                   (5)

Name of creditor and complete               Name, telephone number and complete            Nature ofclaim     (trade   Indicate if claim is   Antounl of claim
mailing address including zip               mading address, including zip code, of         debt, bank loan,            contingent,            [if secured, also
code                                        employee, agent, or department of creditor     government     contract,    unliquidated,          Slale value of
                                           familiar wilh claim who may he contacted        etc.)                       disputed, or           security]
                                                                                                                       .subject to setoff
Allied Waste Services                      Allied Waste Services                                                                              784.70
P 0 B o x 78829                            P 0 B o x 78829
Phoenix, A Z 85062-8829                    Phoenix, A Z 85062-8829
A s s o c i a t e d Time & Parking         A s s o c i a t e d Time & Parking Controls                                                        1,435.40
Controls                                   904 Diplomacy Row
904 Diplomacy R o w                        Dallas, T X 75247
Dallas, T X 75247
A W P Services                             A W P Services                                                                                     875.00
11410 Larkdale Drive                       11410 Larkdale Drive
Houston, T X 77099                         Houston, T X 77099
Belknap Concrete Cutting                   Belknap Concrete Cutting and Drilling                                                              1,353.14
and Drilling                               9030 S o l o n Road
9030 S o l o n Road                        Houston, T X 77064
Houston, TX 77064
BlackFinn American Grille                  BlackFinn American Grille                       Security Deposit            Contingent             25,305.00
1910 Bagy Street                           1910 Bagy Street                                                            Unliquidated
Houston, T X 77002                         Houston, T X 77002
 Cueto, J a m e s                          Cueto, J a m e s                                                                                   4,736.00
 2500 S u m m e r Street                   2500 S u m m e r Street
 Houston, T X 77007                        Houston, T X 77007
 Discovery Construction                    Discovery Construction                                                                             8,793.15
 701 N. Post Oak R d . Suite 34            701 N. Post Oak R d . Suite 34
 Houston, T X 77024                        Houston, TX 77024
 Greenberg Traurig                         Greenberg Traurig                                                                                  3,941.00
 1000 Louisiana Street                     1000 Louisiana Street
 Suite 1700                                Suite 1700
 Houston, T X 77002                        Houston, T X 77002
 Harrell Architects                        Harrell Architects                                                                                 34,403.05
 9575 Katy Freeway, Suite                  9575 Katy Freeway, Suite 200
 200                                       Houston, T X 77024
 Houston, T X 77024
Hicham Nafaa, Ali Bendella,                Hicham Nafaa, Ali Bendella, and                                             Contingent             436,000.00
and                                        Neptunes Restaurant, L L C                                                  Unliquidated
Neptunes Restaurant, L L C                 c/o Daniel D. Horowitz, ill                                                 Disputed
c/o Daniel D. Horowitz, III                Houston, T X 77002-1776
800 C o m m e r c e Street
Houston, T X 77002-1776


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B4 (Official Form 4) (12/07) - Cent
 In re    Midtown S c o u t s Square Property, L P                                                     Case N o .
                                                          Debtor(s)


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                          (Continuation Sheet)

                   (1)                                              (2)                               (3)                      (4)                    (5)

Name of credilor and complete               Name, telephone number and complete            Nature ofclaim     (trade   indicate if claim is   Amount of claim
mailing address including zip               mailing address, including zip code, of        debt, bank loan,            contingent,            [if secured, also
code                                        employee, agent, or department of creditor     government     conlract,    unliquidated,          stale value of
                                           familiar wilh claim who may be contacted        etc.)                       disputed, or           security]
                                                                                                                       subject to setoff
Krenek Architects, Inc.                    Krenek Architects, Inc.                                                                            1,950.00
7115 S M a s o n Road                      7115 S Mason Road
Suite 314                                  Suite 314
R i c h m o n d , T X 77407                R i c h m o n d , T X 77407
Lone Star Advantage                        Lone Star Advantage                                                                                10,199.35
5222 F M 1960 West, Suite                  5222 F M 1960 West, Suite 175
175                                        Houston, T X 77069
Houston, T X 77069
Pyrotex Systems, Inc.                      Pyrotex Systems, Inc.                                                                              350.00
P O B o x 1639                             P O B o x 1639
Alvin, TX 77512                            Alvin, TX 77512
Richey Family Limited                      Richey Family Limited Partnership                                           Disputed               1,400,000.00
Partnership                                P O B o x 2569                                                              Subject to
P O B o x 2569                             Stafford, T X 77497                                                         Setoff
Stafford, T X 77497
Scott Y o u n g b l o o d C P A            Scott Youngblood C P A                                                                             6,000.00
4512 Broadway Road                         4512 Broadway Road
Peariand, T X 77581                        Peariand, TX 77581
State Parking Services, Inc.               State Parking Services, Inc.                                                                       2,883.18
1001 Texas Avenue                          1001 Texas Avenue
Houston, T X 77002                         Houston, T X 77002
Summit L a n d s c a p i n g               Summit Landscaping Services, Inc.                                                                  7,360.57
Services, Inc.                             12452 Cutten Road
12452 Cutten Road                          Houston, TX 77002
Houston, T X 77002
Trio Electric Ltd.                         Trio Electric Ltd.                                                                                 15,193.00
P O B o x 925473                           P O B o x 925473
Houston, T X 77292                         Houston, T X 77292
US Canvas & Awning                         US Canvas & Awning Corporation                                                                     6,318.50
Corporation                                8331 Northern Street
8331 Northern Street                       Houston, T X 77071
Houston, T X 77071
Wholesale Restaurant                       Wholesale Restaurant Supply                                                                        81,998.84
Supply                                     1949 Bingle Road
1949 Single Road                           Houston, T X 77055
Houston, T X 77055




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B4 (Official Form 4) (12/07) - Cont.
 In re     Midtown Scouts Square Property, L P                                                           Case N o .
                                                          Debtor(s)


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                                        DECLARATION UNDER PENALTY OF PERJURY
                                      ON BEHALF OF A CORPORATION OR PARTNERSHIP
                   1, the President o f Generai Partner ofthe partnership named as the debtor in this case, declare under penalty
           ofperjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.



 Date               .5/       ' /    '-^                                  Signature
                                                                                      Erichlwundinger
                                                                                      President of General Partner


    Penalty for making a false slalemenl             or concealing        properly: Fine o f up to $500,000 or imprisonment for up to 5 years or both.
                                                                         18U.S.C^ii§ 152 and 3571.




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